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                      IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

  IN RE: E. I. DU PONT DE                       CASE NO. 2:13-md-2433
  NEMOURS AND COMPANY C-8
  PERSONAL INJURY LITIGATION

                                                JUDGE EDMUND A. SARGUS, JR.

                                               MAGISTRATE JUDGE ELIZABETH P.
                                               DEAVERS




         TAKE NOTICE that a proceeding in this case has been set for the place, date, and
  time set forth below:

  Place: United States District Court           GoToMeeting
         Joseph P. Kinneary U.S. Courthouse
         85 Marconi Boulevard                   September 12, 2023 at 12:30 P.M.
         Columbus, Ohio 43215

  TYPE OF PROCEEDING: Status Conference

                                          EDMUND A. SARGUS, JR.
                                          UNITED STATES DISTRICT JUDGE
  DATE: August 10, 2023

                                             /s / Christin M. Werner
                                          (By) Christin M. Werner, Deputy Clerk
